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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO: 00-CV-8185-CIV-RYSKAMP

 

 

MATTHEW HART, REC O by ___D.©-
Plaintiff, a
” cue SAM.
5.0. Gb FLA. - W.P.B

 

 

 

BRAND SCAFFOLD BUILDERS, INC.,
a Foreign corporation and WENTWORTH
REALTY and DEVELOPMENT CORP., a
Florida corporation,

    
  
     

eT
FILED by D.C.

 

JUN - 6 2000

GLEAK U.S. DIST. CT.
9.0. OF FLA,» W.P.B.

Defendants.

 

 

AMENDED COMPLAINT

COMES NOW the Plaintiff, MATTHEW HART, by and through the undersigned counsel
and sues the Defendants, BRAND SCAFFOLD BUILDERS, INC., a Foreign corporation, and
WENTWORTH REALTY and DEVELOPMENT CORP., a Florida corporation and alleges as
follows:

ALLEGATIONS COMMON TO ALL COUNTS
1, That this is an action for damages in excess of $15,000.00, exclusive of costs.
2. That, at all times relevant hereto, the Plaintiff, MATTHEW HART, was over the

age of 18 years, was a resident of Palm Beach County, Florida and was, in all

other respects, sui juris.
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3. That, at all times relevant hereto, the Defendant, BRAND SCAFFOLD
BUILDERS, INC., was a Foreign Corporation authorized to do business in the
State of Florida and doing business in Palm Beach County, Florida.

4. That, at all times relevant hereto, the Defendant, WENTWORTH REALTY and
DEVELOPMENT CORP., was a Florida corporation doing business in Palm
Beach County, Florida.

5. That the incident giving rise to this cause of action occurred, and venue is proper,
in Palm Beach County, Florida.

6. That, on or about January 9, 1998, the Defendant, BRAND SCAFFOLD
BUILDERS, INC., designed, supplied and erected scaffolding for Defendant,
WENTWORTH REALTY and DEVELOPMENT CORP., for use upon a
construction project in Delray Beach, Palm Beach County, Florida.

7. That, on or about January 9, 1998, the Plaintiff, MATTHEW HART, was lawfully
upon the premises, and using the scaffolding in the manner intended, for the
purpose of performing construction-related labor.

COUNT I

8. That, on the aforesaid date and place, the Defendant, BRAND SCAFFOLD
BUILDERS, INC., had a duty to design and erect its scaffolding in a reasonably
safe manner, to correct dangerous conditions of which they knew or should have
known by the use of reasonable care, and to warn Plaintiff of any dangerous
conditions, concerning which Defendant had, or should have had, knowledge
greater than that of Plaintiff in order to protect Plaintiff from reasonably

foreseeable harm.
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9. That, on the aforesaid date and place, Plaintiff, MATTHEW HART, was using the
aforesaid scaffolding in the manner in which it was intended when he fell off same
and onto a lower floor of the construction site.

10. That, on the aforesaid date and place, the Defendant, BRAND SCAFFOLD
BUILDERS, INC., breached the aforesaid duty of care by negligently failing to
design and erect the scaffolding in a reasonably safe manner, negligently failing to
correct a dangerous condition of which Defendant knew, or should have known by
the use of reasonable care, negligently failed to warn Plaintiff of a dangerous
condition concerning which Defendant had, or should have had, knowledge greater
than that of Plaintiff, negligently failed to provide complete planking and guard
rails so as to prevent reasonably foreseeable injury to Plaintiff, and were otherwise
careless and negligent.

11. That, as a direct and proximate result of the aforesaid negligence, the Plaintiff,
MATTHEW HART, suffered bodily injury and resulting pain and suffering,
disability, disfigurement, significant scarring, bodily impairment, mental anguish,
loss of capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of earnings, loss of ability to earn monies in the
future and aggravation of a previously existing condition. Furthermore, Plaintiff
suffered permanent injuries within a reasonable degree of medical probability and
all losses are either permanent or continuing in nature and the Plaintiff will suffer

the losses in the future.
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WHEREFORE, the Plaintiff, MATTHEW HART, demands judgment for compensatory damages
against the Defendant, BRAND SCAFFOLD BUILDERS, INC., for the costs of this action, for
a jury trial on all issues so triable and for such other relief as this Court deems just.

COUNT II

12. That, on the aforesaid date and place, the Defendant, WENTWORTH REALTY
and DEVELOPMENT CORP., had a duty to maintain the scaffolding in a
reasonably safe condition, to correct dangerous conditions of which they knew or
should have known by the use of reasonable care, and to warn Plaintiff of any
dangerous conditions concerning which Defendant had, or should have had,
knowledge greater than that of Plaintiff in order to protect Plaintiff from reasonably
foreseeable harm.

13, That, on the aforesaid date and place the Plaintiff, MATTHEW HART, was using
the aforesaid scaffolding in the manner in which it was intended when he fell off
same onto a lower floor of the construction site.

14. That, on the aforesaid date and place, the Defendant, WENTWORTH REALTY
and DEVELOPMENT CORP., breached the aforesaid duty by negligently altering
the planking and guard rails of the scaffolding to create a foreseeably dangerous
condition, negligently failing to correct a dangerous condition of which Defendant
knew, or should have known, by the use of reasonable care, negligently failing to
warn Plaintiff of a dangerous condition concerning which Defendant had, or should
have had, knowledge greater than that of Plaintiff, negligently failing to maintain
the scaffolding in a reasonably safe condition, and were otherwise careless and

negligent.
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15. | That, as a direct and proximate result of the aforesaid negligence, the Plaintiff,

MATTHEW HART, suffered bodily injury and resulting pain and suffering,

disability, disfigurement, significant scarring, bodily impairment, mental anguish,

loss of capacity for the enjoyment of life, expense of hospitalization, medical and

nursing care and treatment, loss of earnings, loss of ability to earn monies in the

future and aggravation of a previously existing condition. Furthermore, Plaintiff

suffered permanent injuries within a reasonable degree of medical probability and

all losses are either permanent or continuing in nature and the Plaintiff will suffer

the losses in the future.

WHEREFORE, the Plaintiff, MATTHEW HART, demands judgment for compensatory damages

against the Defendant, WENTWORTH REALTY and DEVELOPMENT CORP., for the costs

of this action, for a jury trial on all issues so triable and for such other relief as this Court deems

just.

I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by U.S.

Mail/hand delivery this.2}* May of
Greer, Weil, et. al., Trial Attorneys fo

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, 2000 to: Gary S. Betensky, Esquire, Richman,
Defendant, 250 Australian Avenue South, Suite #1504,

West Palm Beach, FL 33401 and Sharon Ryan Rodi, Esquire, Adams and Reese, LLP, Co-
Counsel for Defendant, 4500 One Shell Square, New Orleans, LA 70139.

SAN: ms

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Stuart A. Nelson, Esquire —
FLORIDA BAR NO: 319090
